
PATTERSON, Judge.
The plaintiff below appeals from a final order of the trial court dismissing this medical malpractice action for lack of prosecution pursuant to Florida Rule of Civil Procedure 1.420(e). We reverse.
In May 1987, the trial court granted a final summary judgment in favor of Morton F. Plant Hospital, one of the defendants. The plaintiff appealed, and this court affirmed. On May 17, 1988, the hospital filed a motion for the award of attorney’s fees and costs pursuant to section 768.56, Florida Statutes (1980). An eviden-tiary hearing was held on this motion on August 3, 1988, and the court entered final judgments awarding costs and fees to the hospital on August 9, 1988.
On May 24 and 26, 1989, the remaining defendants filed motions to dismiss for failure to prosecute the action for more than one year. The trial court ruled that the August 1988, litigation concerning the award of fees and costs to the hospital did not constitute record activity directed toward the disposition of the cause as to one of multiple defendants and granted the motions. This determination was in error. See Biscayne Awning &amp; Shade Co., Inc. v. Miami Beach Awning Co., 565 So.2d 740, (Fla. 3d DCA 1990).
Reversed and remanded.
CAMPBELL, A.C.J., and THREADGILL, concur.
